Case 4:20-cv-00957-SDJ   Document 700-12 Filed 12/09/24   Page 1 of 5 PageID #:
                                    38938




                   EXHIBIT 112
            Case 4:20-cv-00957-SDJ   Document 700-12 Filed 12/09/24     Page 2 of 5 PageID #:
                                                38939




                      Profiting from Non-Guaranteed
                      Advertising: The Value of Dynamic
                      Allocation & Auction Pricing for
                      Online Publishers




                                                                 Table of Contents
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            Case 4:20-cv-00957-SDJ              Document 700-12 Filed 12/09/24                        Page 3 of 5 PageID #:
                                                           38940
               doubleclick                       White Paper I DoubleClick Ad Exchange
               by Goosk:




                           Profiting from Non-Guaranteed Advertising
                           The Value of Dynamic Allocation & Auction Pricing for Online Publishers

                           Overview
                           For most large online publishers, the supply of available ad inventory far exceeds demand for it. A
                           research study conducted by Forrester indicated that as much as 25% of sellers' inventory goes unsold'
                           To tap additional demand from advertisers, brand-conscious publishers often sell through indirect
                           channels, including ad networks, exchanges, and other technology providers that vary widely in scale,
                           technology, ease of use, cost, and controls.
                           Ad networks provide revenue to publishers willing to commit, in advance, a large number of impressions
                           at a fixed CPM value. Many publishers find comfort in the predictable revenues of this type of booking.
                           Can publishers make more money by embracing a spot auction sales model — with DoubleClick's
                           proprietary Dynamic Allocation technology — to increase their CPM as a component of their yield
                           management strategy, instead of relying exclusively on fixed, upfront. pre-allocated sales?

                           How Publishers Segment and Sell Ad Inventory Today
                           With a typical thou                                        ad inventory in order of self-defined value. This
                           priority tiering system is used to manage the delivery of ads (of different varieties, formats, messaging,
                           etc.) into ad space on any given page.
                           Through their direct sales channel, most publishers sell their highest-value ad space to the highest-
                           paying advertisers — usually brand-conscious or endemic marketers — on a guaranteed basis. A typical
                           large publisher generates upward of 80% of its online advertising revenue from guaranteed ad sales.'
                           Publishers usually sell their remaining ad space on a non-guaranteed (or "pre-emptible") basis through
                           their direct sales channel, as well through their indirect sales channel, which may comprise a handful of
                           ad network partners. Some publishers manage yield across this ad space by manually prioritizing which
                           ad networks access it in order of their relative average CPM payout. Because the rank order of networks'
                           average CPMs changes continually, this manual process is time consuming, and often results in lost
                           impressions (typically 5% to 10% of a publisher's total non-guaranteed ads).'

                           Dynamic Allocation
                           When publishers sell display advertising through their direct sales force on a guaranteed basis, that
                           inventory must be delivered systematically to achieve the desired impression goals set forth in an
                           insertion order (or "I/0"). Non-guaranteed ads, on the other hand, typically sell at a lower price because
                           of the potential that another buyer will pay a higher price after the initial sale, before the impression is
                           actually delivered; hence the "non-guaranteed" status. With indirect sales, the CPM is usually fixed, but
                           the number of impressions delivered is not.
                           Ad servers like DFP have some variability in how they meet impression delivery goals, rotating other ads
                           sold by the direct sales force on a non-guaranteed basis into a particular ad slot in order to maintain a
                           steady rate of delivery for the guaranteed ads. Instead of randomly rotating other ads into an ad slot,
                           DoubleClick Ad Exchange uses Dynamic Allocation, rotating in higher-paying ads from ad networks and
                           other third-party media buyers when the net CPM they provide to the publisher is higher than what has
                           been booked directly into the ad server.




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            Case 4:20-cv-00957-SDJ          Document 700-12 Filed 12/09/24                       Page 4 of 5 PageID #:
                                                       38941
                       Dynamic Allocation: Proprietary ad server integration designed to maximize revenue



                                                                               C
                               Thousands of advertisers and
                                leading ad networks bid for
                                     each impression
                                                                      Guaranteed Inventory



                                                                                                   Ad Exchange winning bid
                                                                                                   competes in real-time with
                                                                                                   other directly booked third
                                                                                                   parties



                                       coL;bleclir.',k                Directly booked non
                                       ad exchange                    guaranteed inventory




                       Dynamic allocation passes to the Ad Exchange the CPM value associated with the ad that the primary
                       ad server has selected and is about to serve. The technology then uses this CPM value as the minimum
                       CPM for the auction. If the Ad Exchange can provide the publisher with a net CPM value higher than
                       they would have gotten from delivering their directly booked, non-guaranteed ad, the Ad Exchange will
                       deliver an ad. If, however, the directly booked ad's CPM value is higher, it ignores any bids coming in from
                       the Ad Exchange. As a result of this ad server integration, publishers essentially have a risk-free way
                       to get the highest yield for every non-guaranteed impression they sell through their direct and indirect
                       sales channels. An additional benefit of Dynamic Allocation is that it ensures there is a deep pool of ads
                       to deliver for any given piece of inventory, reducing the probability that the publisher delivers a house or
                       zero-value ad.
                       Combined with Dynamic Allocation, DoubleClick Ad Exchange's real-time auction mechanism enables
                       publishers to receive the highest yield across all participating buyers for any given ad impression. An
                       approach employed by some third-party technology providers, by contrast, estimates and computes
                       a priori the expected CPM from a given buyer. These systems use average, historical CPM values to
                       predict the price that a given buyer will pay, then use that predicted value to call the ad network with
                       the highest projected CPM.
                       The use of average CPMs has drawbacks: When the technology estimates the CPM to be higher than
                       the CPM actually paid for a given impression or targeting set, the publisher loses the difference between
                       that value and what another network would have paid. And when the technology estimates the CPM to
                       be lower than the CPM actually paid, the ad network may not be called when it would have delivered the
                       highest-yielding ad. These inefficiencies reduce the potential yield that a publisher can achieve.




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            Case 4:20-cv-00957-SDJ         Document 700-12 Filed 12/09/24                                                    Page 5 of 5 PageID #:
                                                      38942
                       Dynamic Allocation eliminates opportunity cost




                                                                     Ad: Exchange, delivery zone



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                                                                               Other a \railahte sources of demand


                                                                 DFP targeting and frequency caps



                       Research and Conclusion
                       In a recent study (Q1, 2010), we compared the average effective CPM from the Ad Exchange with
                       aggregate directly booked inventory sold through in DFP. The results of our research demonstrated that
                       the combined effects of auction pressure and Dynamic Allocation in DoubleClick Ad Exchange resulted
                       in an average CPM lift of 136% compared with fixed, upfront, pre-negotiated sales of non-guaranteed
                       inventory. Applying the research findings, a publisher that generates an average CPM of $0.65 for its
                       non-guaranteed ad inventory might expect to see $1.53 by taking advantage of the Ad Exchange.




                        The results of our research demonstrated that the combined effects of auction pressure
                        andDynamic Allocation in DoubleClick Ad Exchange resulted in an average CPM lift of
                        136% compared with fixed, upfront, pre-negotiated sales of non-guaranteed inventory.



                       Our study was conducted using the first-generation version of DoubleClick Ad Exchange. However, the
                       key takeaway — that over time, Dynamic Allocation and auction pricing can provide incrementally higher
                       yield over fixed upfront sales for non-guaranteed display advertising — is consistent across both versions
                       of the system, assuming that similar supply-demand characteristics apply. We anticipate that with the
                       currently available next-generation DoubleClick Ad Exchange, publishers will also benefit from greater
                       upward pricing pressure created by the introduction of AdWords and Google Display Network buyers
                       coming online, and as more large ad networks and third-party technology providers purchase large
                       blocks of inventory through the service's new API and real-time bidding technologies.




                                            1. °Online Ad Exchange,' Forrester Custom Research prepared for DoubleClick, March 2007
                                            2. "Online Ad Exchange," Forrester Custom Research prepared for DoubleClick, March 200 t.


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                                            3. Source: Google internal data.


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